Case 1:04-cr-00117-MR-DLH   Document 214   Filed 01/26/06   Page 1 of 6
Case 1:04-cr-00117-MR-DLH   Document 214   Filed 01/26/06   Page 2 of 6
Case 1:04-cr-00117-MR-DLH   Document 214   Filed 01/26/06   Page 3 of 6
Case 1:04-cr-00117-MR-DLH   Document 214   Filed 01/26/06   Page 4 of 6
Case 1:04-cr-00117-MR-DLH   Document 214   Filed 01/26/06   Page 5 of 6
Case 1:04-cr-00117-MR-DLH   Document 214   Filed 01/26/06   Page 6 of 6
